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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

E.N. BISSO & SON, INC.,                     *            CIVIL ACTION NO. 2:19-cv-14765
                                            *
                          Plaintiff,        *            SECTION “D”
                                            *
        VERSUS                              *            DIVISION “3”
                                            *
M/V BOUCHARD GIRLS, her tackle, furniture, *             JUDGE WENDY B. VITTER
apparel, appurtenances, etc. in rem & BOU-  *
CHARD TRANSPORTATION CO., INC.              *            MAGISTRATE DANA DOUGLAS
in personam                                 *
                                            *
                                            *
                          Defendant.        *
                                            *
*********************************************

                   UNOPPOSED MOTION FOR LEAVE TO INTERVENE
                          BY WELLS FARGO BANK, N.A.

        Wells Fargo Bank, N.A. (“Wells Fargo”), pursuant to Rule 24 of the Federal Rules of Civil

Procedure, moves to intervene as follows:

        1.     Wells Fargo holds preferred ship mortgages on the M/V Bouchard Girls (Official

Number 955450, IMO No. 8835102) and the Barge B. No. 295 (Official No. 955449, IMO No.

8640569) (together, “the Vessels”) within the meaning of the laws of the United States (46 U.S.C.

§ 31301 et seq.)

        2.     On December 27, 2019, Plaintiff E.N. Bisso & Son, Inc. (“E.N. Bisso”) initiated

this action against the Vessels and Bouchard Transportation Co. (“Bouchard”) to foreclose upon a

maritime lien for towage services to the Vessels and breach of maritime contract by Bouchard.

The U.S. Marshal arrested the Vessels pursuant to the Court’s Order issued in this action. ECF

No. 8 & 9.




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        3.     Wells Fargo has a right to intervene pursuant to Rule 24(a)(2) of the Federal Rules

of Civil Procedure to foreclose on its mortgages to protect its security interests, which will other-

wise be impaired by the disposition of this action without its participation. Specifically, Wells

Fargo’s preferred mortgages on the Vessels entitle it to priority payment from any proceeds result-

ing from the condemnation and sale of the Vessels.

        4.     The Court’s Scheduling Order of March 20, 2020, established April 20, 2020 as the

deadline for “[a]mendments to pleadings, third-party actions, crossclaims, and counterclaims.”

ECF 36. Thus, this Motion for Leave to Intervene is timely filed.

        5.     Attached to this motion and incorporated herein is the Verified Complaint in Inter-

vention by Wells Fargo Bank, N.A. (without exhibits), which fully sets forth Wells Fargo’s claim.

The exhibits have been omitted because they are voluminous. If the Court requires the exhibits

for purposes of this Motion, undersigned counsel will be glad to provide.

        6.     Prior to filing this Motion, counsel for Wells Fargo contacted all parties who are

present before the Court, in compliance with this Court’s Local Rule 7.6, and all such parties con-

sented to Wells Fargo’s intervention and filing of its attached Complaint in Intervention.

        WHEREFORE, Wells Fargo prays that this Court grant its Motion for Leave to Intervene

and permit Wells Fargo to file its Complaint in Intervention into the record in this matter.




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Dated this 17th day of April, 2020.


                                             Respectfully submitted,

                                             /s/ Benjamin O. Schupp
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                                             BENJAMIN O. SCHUPP (La. Bar No. 21074)
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing was e-filed with

the Clerk of the Court and electronically served on all counsel of record via the Court’ s ECF E-

Filing Service System on this 17th day of April, 2020.

                                             /s/ Benjamin O. Schupp




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                             CERTIFICATE OF CONFERENCE

        I hereby certify that between April 14 and April 16, 2020, I conferred with all counsel

regarding the filing and granting of this Motion to Intervene. I further certify that this Motion to

Intervene is unopposed.

                                              /s/ Richard A. Aguilar
                                              RICHARD A. AGUILAR




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